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8                   UNITED STATES DISTRICT COURT FOR THE
9
                       NORTHERN DISTRICT OF CALIFORNIA
10

11
     LAWYERS UNITED INC.,                      Case No.:
     EVELYN AIMÉE DE JESÚS,                    COMPLAINT FOR INJUNCTIVE &
12   ALLAN WAINWRIGHT,                         DECLARATORY RELIEF TO
13                                             INVALIDATE U.S. DISTRICT
     Plaintiffs,                               COURT “LOCAL RULES” THAT
14
                                               DENY EQUAL & GENERAL
15          vs                                 ADMISSION PRIVILEGES TO
                                               LICENSED SISTER-STATE
16
     UNITED STATES; MARY MURGUIA,              ATTORNEYS IN GOOD STANDING
17   CHIEF JUDGE NINTH CIRCUIT                 UNDER:
18   JUDICIAL COUNCIL, WILLIAM H.              1. 28 U.SC. § 1738;
     PRYOR, JR, CHIEF JUDGE                    2. SEPARATION OF POWERS;
19   ELEVENTH CIRCUIT JUDICIAL                 3. 28 U.SC. §§ 2071-72, 332(d)(4);
20   COUNCIL; RICHARD SEEBORG,                 4. FIRST AMENDMENT:
     CHIEF JUDGE OF THE NORTHERN                    • PETITION FOR REDRESS OF
21
     DISTICT OF CALIFORNIA, AND HIS                   GRIEVANCES;
22   HON. JUDICIAL COLLEAGUES,                      • PRIOR RESTRAINT;
23
     EDWARD M. CHEN, VINCE                          • RIGHT TO ASSOCIATION
     CHHABRIA, JAMES DONATO,                          WITH COUNSEL AND
24   WILLIAM H. ORRICK, HAYWOOD S.                    AVOID COMPELLED
25
     GIILLIAM; YVONNE GONZLES                         ASSOCIATION;
     ROGERS, JON S. TIGAR, EDWARD J.                • CONTENT
26   DAVILLA, BETH LARSON                             DISCRIMINATION,
27   FREEMAN, TIMOTHY CORRIGAN,
     CHIEF JUDGE OF THE MIDDLE
28                                         1
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1    DISTRICT OF FLORIDA AND HIS                       • VIEWPOINT
2    ACTIVE DISTRICT COURT                               DISCRIMINATION,
     COLLEGUES.                                        • SPEAKER
3
                                                         DISCRIMINATION;
4    Defendants,                                   5. FIFTH AMENDMENT EQUAL
5
                                                   PROTECTION;
                                                   6. CODE OF CONDUCT FOR U.S.
6                                                  JUDGES AND FIFTH AMENDMENT
7                                                  DUE PROCESS;
                                                    7. DECLARATORY JUDGMENT (28
8
                                                   USC § 2201)
9

10

11

12

13                             INTRODUCTION
14

15         1. This case concerns the fiduciary non-delegable duty of United States
16
     Article III Courts to serve as a trustee of our Constitution, the Article III Court’s
17

18   abdication of this sacred duty, and District Judges enacting local Rule legislation
19
     far in excess of Constitutionally and statutorily defined narrow limits. It is about
20
     Article III Court judges not recusing themselves when they have a statutory duty to
21

22   do so. “A trustee is held to something stricter than the morals of the market place.
23
     Not honesty alone, but the punctilio of an honor the most sensitive, is then the
24

25   standard of behavior" Pegram v. Herdrich, 530 US 211, 225 (2000).
26

27

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1          2. In Frazier v. Heebe, 482 US 641 (1987), an experienced litigator’s
2
     application for general admission to the bar for United States District Court for the
3

4    Eastern District of Louisiana was denied because he neither lived nor had an office
5
     in Louisiana, as required by the court's local Rules. The judges on the court recused
6

7
     themselves. An outside judge conducted a bench trial and upheld his colleague’s

8    local Rules. The Fifth Circuit affirmed holding these local Rules were rational.
9
     Federal judges by definition are rational. They are nominated by the President,
10

11   confirmed by the Senate and provided life tenure. Everything a judge does while
12
     robed can be classified as rational. The Supreme Court exercising its supervisory
13

14
     power reversed. It stated: “The question for decision is whether a United States

15   District Court may require that applicants for general admission to its bar either
16
     reside or maintain an office in the State where that court sits. Id. at 642-43. The
17

18   Court held, “we find the in-state office requirement unnecessary and irrational.” Id.
19
     at 649. It also found the residence requirement was unnecessary and irrational. The
20

21
     Court further explained, “the location of a lawyer's office simply has nothing to do

22   with his or her intellectual ability or experience in litigating cases in Federal District
23
     Court.” Ibid. “We are unwilling to assume that a nonresident lawyer — any more
24

25   than a resident — would disserve his clients by failing to familiarize himself [or
26
     herself] with the [local] rules.” Id. at 647. The Court further held the “availability of
27

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1    appearance pro hac vice is not a reasonable alternative for an out-of-state attorney
2
     who seeks general admission to the Eastern District's Bar.” Id. at 650. The Court in
3

4    exercising its supervisory review in conformity with 28 U.S.C. § 2072 held:
5
           Rules that discriminate against nonresident attorneys are even more difficult
6          to justify in the context of federal-court practice than they are in the area of
7          state-court practice, where laws and procedures may differ substantially from
           State to State. (internal cites omitted)There is a growing body of specialized
8
           federal law and a more mobile federal bar, accompanied by an increased
9          demand for specialized legal services regardless of state boundaries. (internal
10         cites omitted) The Court's supervisory power over federal courts allows the
           Court to intervene to protect the integrity of the federal system, while its
11
           authority over state-court bars is limited to enforcing federal constitutional
12         requirements.
13         3. The Frazier Court in exercising its supervisory review under 28 U.S.C. §
14
     2072 and applying a “rational and necessary” standard cited with approval Supreme
15

16   Court of New Hampshire v. Piper, 470 U.S. 284 (1985). There, the Court held an
17
     attorney’s opportunity to practice law is a fundamental right and constitutionally
18

19
     protected, thus applying a strict scrutiny standard in Piper, and holding that state
20   supreme court discrimination against out-of-state attorneys in bar admission was
21
     unconstitutional. The rational and necessary standard is further virtually identical to
22

23   the necessary and proper standard for the Article I enumerated legislative powers.
24
     There is an enormous difference rational basis review, which in practice means no
25

26
     judicial review, and rational and necessary standard as there is an enormous

27   difference between a chestnut and a chestnut horse.
28                                              4
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1          4. After Frazier was decided, Congress amended the Rules Enabling Act
2
     including 28 U.S.C. § 2072. Congress meticulously circumscribed “Local Rule
3

4    making” discretion. First, it legislated an expanded supervisory role for the Judicial
5
     Councils in the District Court local Rule -making process. (Exhibit A1-2) 28 U.S.
6

7
     Code § 332 (d)(4) provides:

8          Each judicial council shall periodically review the rules which are prescribed
9          under section 2071 of this title by district courts within its circuit for
10
           consistency with rules prescribed under section 2072 of this title. Each council
           may modify or abrogate any such rule found inconsistent in the course of such
11
           a review.
12
           5. According to the Congressional Reporter, the “amendment § 332 to add a
13

14   new paragraph (d)(4) was a consequence of widespread discontent,” communicated
15
     to Congress, about “a proliferation of local Rules.” (Exhibit A1) Congress found
16

17   that the rule-making procedures “lacked sufficient openness” and that local Rules
18
     often “conflict with national rules of general applicability.” Ibid. Congress also
19
     placed on the judicial councils a mandatory periodic duty of review because it
20

21   concluded “effective appellate review of such a [local] rule [is] impossible
22
     sometimes, impractical most times, and impolitic always” (Exhibit A2) because the
23

24   judges who enact the local Rules decide whether they are lawful. “There is no such
25
     thing as a rule’s becoming sacrosanct merely for having passed judicial scrutiny the
26
     first time. It is subject to ongoing scrutiny.” Id.
27

28                                               5
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1           6. Congress also legislated an interlocking standard of review for District
2
     Court local Rules that is stricter than strict scrutiny. Section 2071(a) provides:
3

4           The Supreme Court and all courts established by Act of Congress may from
5           time to time prescribe rules for the conduct of their business. Such rules shall
            be consistent with Acts of Congress and rules of practice and procedure
6
            prescribed under section 2072 of this title. (Emphasis added)
7
            28 U.S. Code § 2072 (b) provides:
8

9           Such rules shall not abridge, enlarge or modify any substantive rights.
10
            (Emphasis added)

11          7. Thus, the standard of review set forth in § 2071(a) for local Rules is
12
     incorporated by reference into the standard of review for nationally promulgated
13

14
     rules set forth in § 2072(b). This standard makes perfect sense because judges are

15   not legislators. Congress commanded local Rules shall provide an even playing field.
16
     The home team does get to start the game with a home run lead. Judges are supposed
17

18   to call balls and strikes: Not legislate.
19
            8.   There is no difference in attorney licensing regardless of the state of
20

21
     admission or office location in the United States Supreme (Supreme Court Rule 5),

22   U.S. Courts of Appeal (FRAP 46), or practice before federal administrative agencies
23
     (5 U.S.C. § 500(b)) as there is no difference in marriage license qualifications based
24

25   on state law. These Rules are nationally enacted. The local Rules in 1/3 of the 94
26
     District Courts also do not discriminate for or against any class of citizens.
27

28                                               6
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1          9. However, the local Rules in 2/3 of the 94 United States District Courts
2
     create classes of citizens and lawyers. The vast majority of the states in which these
3

4    District Courts are located provide a back door for federal general reciprocal
5
     licensing via admission in the forum state, upon payment of usually around a $1,000
6

7
     poll/petition tax, admission on motion for experienced attorneys or transfer of UBE

8    scores. However, in the States of California and Florida, there is no back door to
9
     federal admission. Under the challenged local Rules in California and Florida, a
10

11   licensed sister-state attorney in order to obtain general admission in the U.S. District
12
     Courts has to reinvent the wheel and retake an entry-level state bar exam. Plaintiffs
13

14
     allege these local Rules exceed the rule-making authority of the United States

15   District Courts. Plaintiffs further allege the Ninth and Eleventh Circuit Judicial
16
     Councils have failed to curb this abuse of a public trust as is required by 28 U.S.C.
17

18   § 332(d)(4), despite numerous requests they do so.
19
           10. The Florida and California local Rules are mirror opposites. If a citizen
20

21
     from California sues a citizen from Florida on a federal claim in federal court, the

22   Florida citizen or corporation is also a party. If the first to file or venue is in
23
     California, it is arbitrary and irrational to compel the Florida citizen to hire a
24

25   California lawyer. Likewise, if venue is in Florida, it is equally arbitrary to compel
26
     the California citizen to hire a Florida lawyer on the identical federal claims. The
27

28                                              7
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1    same holds true on jurisdiction based on diversity. Diversity claims are also
2
     governed by the Federal Rules of Civil Procedure. The purpose of diversity
3

4    jurisdiction is to provide a neutral and national forum. That purpose is defeated by
5
     the local Rule reliance on forum state law on both federal and diversity claims in
6

7
     two-thirds of the district courts.

8          11. The Supreme Court has never decided this local Rule attorney licensing
9
     question on the merits, despite eight or nine petitions for certiorari requesting that it
10

11   do since Frazier was decided 35 years ago. These local Rules compel citizens in all
12
     50 states to choose a lawyer from the forum state or forfeit the right to counsel. They
13

14
     grant a monopoly; A patent on the First Amendment substantive rights. Congress in

15   promulgating and amending 28 U.S.C. § 2072(b) commanded that local Rules
16
     “shall not abridge, enlarge, or modify any substantive rights.” Thus, the challenged
17

18   local Rules on their face       in a single sweep “abridge” and “modify” every
19
     enumerated Constitutional and substantive right enacted by Congress and double-
20

21
     down by “enlarging” and providing a monopoly and patent on access to the District

22   Courts to forum state licensed lawyers.
23
           12. Madison, writing in The Federalist 47, explicitly warned against the
24

25   tyranny that would result if Judges were to self-appoint themselves as legislators:
26
           The accumulation of all powers, legislative, executive, and judiciary, in the
27         same hands, whether of one, a few, or many, and whether hereditary, self-
28                                               8
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1          appointed, or elective, may justly be pronounced the very definition of
2          tyranny.
                                            ………
3

4          Again: "Were the power of judging joined with the legislative, the life and
           liberty of the subject would be exposed to arbitrary control, for THE JUDGE
5
           would then be THE LEGISLATOR.
6

7
           13. The challenged Rules enacted by District Judge vote carried out behind

8    closed doors undermines The Federalist 47. It is the very definition of tyranny for
9
     judges to wear a second hat as legislators. These Rules undermine The Federalist
10

11   #80, “the peace of the WHOLE ought not to be left at the disposal of a PART.”
12
           14. The Federal Rules of Civil Procedure “govern the procedure in all civil
13

14
     actions and proceedings in the United States district courts.” FRCP 1. Hence, the

15   scope applies to all federal actions and proceedings. The purpose is “to secure the
16
     just, speedy, and inexpensive determination of every action and proceeding.
17

18   (Emphasis added) Ibid. The Federal Rules of Civil Procedure 83(a)(1) command:
19
     “A local Rule must be consistent with… federal statutes and rules adopted under
20

21
     28 U.S.C. § 2072.” The challenged local Rules do not “secure the just, speedy, and

22   inexpensive determination of every action:” (i) when all lawyer in 1/3 of the District
23
     Courts can obtain general admission privileges by filing a certificate of good
24

25   standing, paying a District Court admission fee of $200; (ii) other lawyers admitted
26
     by reciprocity or UBE transfer can obtain general admission privileges by filing a
27

28                                             9
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1    certificate of good standing, paying a District Court admission fee of $200, and
2
     paying a 1,000 dollar poll tax to a mandatory state bar association; (iii) and lawyers
3

4    in the Golden State can obtain general admission privileges by filing a certificate of
5
     good standing, paying a District Court admission fee of $200, paying an almost
6

7
     $2,000 poll tax to a mandatory state bar association, and then having to reinvent the

8    wheel and pass a 100% subjective entry-level licensing test that has a standard error
9
     of measurement shoddier than .48, and fails more than 60% of experienced attorneys
10

11   on the July bar exam. The Florida local Rules impose a similar medieval ritual
12
     similar to the 17th Century content-based licensing of printing presses. A blind
13

14
     person can see these non-uniform local Rules defeat the scope and purpose of the

15   Federal Rules of Civil Procedure.
16
           15. The Wall Street Journal on September 29, 2020 published the results of
17

18   an investigation that found that 130 federal judges in 685 court cases since 2010
19
     improperly failed to disqualify themselves. Nearly one out of five federal judges
20

21   who disclosed their stock ownership heard cases where they owned stock in one of
22
     the corporate parties. This pattern of Article III judges chronically neglecting to
23
     recuse themselves is also front and center as Judge JANICE ROGERS BROWN
24

25   violated the recusal statute in writing the panel’s decision in NAAMJP v. Howell,
26
     851 F.3d 12 (D.C. Cir. 2017) cert. denied. This published decision is the leading
27

28                                             10
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1    lower court binding precedent. On information and belief, JANICE ROGERS
2
     BROWN was either collecting a pension from the California Supreme Court when
3

4    she decided Howell or she is now collecting a pension from them, as well as the
5
     United States government. Even if she was not collecting a California judge pension
6

7
     when she wrote the panel’s decision in Howell, her personal and vested financial

8    relationship and being a defendant while serving on the California Supreme Court
9
     in prior litigation about the California licensing process for sister-state attorneys
10

11   undermines her impartiality. It creates the appearance of bias. Judge BROWN
12
     should have recused herself. Judge BROWN’s decision nullifies Frazier, FRCP 1 &
13

14
     83, 28 U.S.C. § 2072(b), and 332(d)(4) by holding only the Supreme Court has

15   supervisory review over local Rules. Judge BROWN’s decision is the product of
16
     “US” hostility against “THEM” and against anyone who challenges the local guild.
17

18         16. Another reason for this ongoing and impermissible uneven playing field
19
     arises from the Supreme Court’s not exercising its supervisory responsibility as a
20

21
     result of lower court sophistry. Judges are keenly aware the Supreme Court grants

22   review in less than one in a hundred certiorari petitions. They are keenly aware a
23
     rational judge can easily rationalize any decision. In Howell, panel chair Judge
24

25   BROWN applied rational basis review and thus side-stepped Frazier by holding the
26
     Supreme Court “exercised its own unique supervisory authority” (emphasis in
27

28                                            11
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1    original) and “No similar authority vests in a single district judge.” 851 F. 3d at 18.
2
     “A single district court judge or an appellate panel may not usurp that body's
3

4    authority.” Ibid. The upshot of the BROWN panel’s decision is only the Supreme
5
     Court can provide judicial review. The overarching fundamental flaw in the
6

7
     BROWN panel and other court decision upholding local Rules is the application of

8    rational basis review. When federal judges review their own decisions based on
9
     rational basis review there is no review. Cf. Marbury v. Madison, 5 U.S. 137 (1803).
10

11         17. Many Article III judges have a personal interest and financial stake in
12
     preserving monopoly protecting local Rules. Unlike the Justices on the Supreme
13

14
     Court, many District Judges resign or retire and earn $10,000 a day conducting

15   private arbitrations. Some pay attention, to who served as their sponsors and their
16
     future livelihood, including judgeships in the state courts, where their compensation
17

18   and local standing can be enriched. The unintended consequence of the BROWN
19
     panel’s decision is judges have the same rights as Kings. They can enact any
20

21
     legislation they want as long as it is rational and only the Supreme Court has

22   supervisory review.
23
           18. United States Judges serving on the United States Court of Appeals for
24

25   the District of Columbia, the most prestigious Circuit in America, have been
26
     presented with this violation of the recusal statute evidence in Lawyers United Inc.
27

28                                             12
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1    v. United States DC docket 20-5269 and requested to re-examine Judge BROWN’s
2
     opinion applying rational basis based on subsequent Supreme Court precedent that
3

4    directly undermines the BROWN panel’s decision. Confronted with the choice of
5
     disclosing or concealing Judge BROWN’S violation of the recusal statute, the D.C.
6

7
     Circuit Court of Appeals circled the wagons and issued a one paragraph decision

8    upholding Howell as binding precedent.
9
              19. These local Rules are identical to a sign on the United States Courthouse
10

11   door saying BLACKS and JEWS barred from entering.
12
              20. In Plessy v. Ferguson, 163 U.S. 537 (1896), Supreme Court justice
13

14
     HENRY BILLINGS BROWN authored the infamous decision that upheld the

15   separate but equal doctrine as rational. In this 21st Century, Judge JANICE ROGERS
16
     BROWN authored the decision upholding local Rules as rational that provide
17

18   American citizens and lawyers the same substantive as Homer Plessy. Judge
19
     BROWN’s decision squarely holds lawyers do not have any substantive rights that
20

21
     are implicated by local Rules. Plaintiffs aver this is an aberration that must be set

22   aside.
23
                                JURISDICTION AND VENUE
24

25            21. This District Court has jurisdiction under 28 U.S.C. § 1331. Venue is
26
     appropriate in San Francisco, where both the Northern District of California and
27

28                                              13
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1    Ninth Circuit are headquartered. Jurisdiction and venue against the United States
2
     and the out-of-state defendants is provided by 28 U.S.C. § 1391(e); Stafford, U.S.
3

4    Attorney v. Briggs, 444 U.S. 527, 534 (1980).1 Accord United States v. Windsor,
5
     133 S.Ct. 2675 (2103), holding the United States government is bound to afford gay
6

7
     and lesbians Fifth Amendment Equal Protection and their marriage licenses full faith

8    and credit.
9
                                          PARTIES
10

11              22. Plaintiff LAWYERS UNITED INC. is a corporation organized under
12
     California law with offices in Los Angeles, CA. Like Citizens United v. Federal
13

14
     Election Commission, 130 S.Ct. 876 (2010) holding corporations have First

15   Amendment rights, Plaintiff is engaged in interstate commerce and advocacy. As a
16
     consumer of legal services and as an advocate, Plaintiff is directly injured by local
17

18   Rules that compel it to associate and compel it to make payments to a mandatory
19
     public union as a condition precedent to exercise its federal rights in the United
20

21
     States Courthouse.

22

23

24

25
     1
         "The
            purpose of this bill [Section 1391 (e) amendment] is to make it possible to
     bring actions against Government officials and agencies in U.S. district courts
26
     outside the District of Columbia, which, because of certain existing limitations on
27   jurisdiction and venue, may now be brought only in the U. S. District Court for the
     District of Columbia." Id. at 539-40. (Emphasis in original).
28                                            14
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1          23. Plaintiff has a constitutional duty to vindicate federal rights and champion
2
     locally unpopular federal claims. “An association can bring claims on behalf of its
3

4    members.” See Summers v. Earth Island Inst., 555 U.S. 488, 494, (2009). Plaintiff
5
     LAWYERS UNITED INC., has members and associates who have been deprived of
6

7
     their civil rights by the challenged local Rules. These members and associates are

8    willing to submit Declarations and testify in open Court under oath attesting to their
9
     injures. They include lawyers of color, patent lawyers, military veterans, federal
10

11   practice specialists, and members of the bar in good standing who maintain their
12
     principal office in a state where they are not licensed.
13

14
           24. Plaintiff EVELYN AIMÉE DE JESÚS graduated from the University of

15   Massachusetts at Amherst. She is an American citizen, a graduate of an ABA
16
     accredited law school, and a well-qualified Hispanic-American lawyer in good
17

18   standing since 2002. She is a member of the LAWYERS UNITED INC. She was
19
     compelled to move to the mainland because of extensive hurricane damage. She has
20

21
     practiced law federal courts’ pro bono and as a civil rights’ activist. She is bilingual.

22   Latinos make up 15.8% of the population but only 2.8% of attorneys are Hispanic.
23
     Plaintiff alleges this LR discrimination is facially invalid. Plaintiff will apply for
24

25   general admission when these local Rules are abrogated.
26

27

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1          25. Plaintiff ALLAN WAINWRIGHT is an experienced lawyer in good
2
     standing with 40 years of experience admitted to the New Mexico Supreme Court
3

4    and multiple federal courts. He moved to Florida as an experienced lawyer to take a
5
     position as litigation counsel with a Florida law firm. He is injured because he is
6

7
     disqualified for general admission privileges because he is not a member of the

8    Florida Bar Association, a political trade union that often takes political positions on
9
     matters of public concern. He was also injured because his pro hac vice status in the
10

11   Middle District of Florida was revoked because he had an office and residence in
12
     Florida. Plaintiff will apply for admission when these local Rules are abrogated in
13

14
     conformity with FRCP 1, 83(a)(1), and 28 U.S.C § 2072(b).

15         26. The lead defendant is the United States. See 28 U.S.C. § 1391(e)(1)& (2)
16
     authorizing suits against the United States and its officials for actions and inaction
17

18   whereby citizens are injured and nationwide service of process. The United States
19
     has been a party in similar law suits challenging government conduct exceeding
20

21
     authorized discretion. See United States v. Windsor, supra; New York Times Co. v.

22   United States, 403 US 713 (1971); Texas v. United States, 809 F. 3d 134 (5th Cir.
23
     2015), affirmed by an evenly divided Supreme Court; Duplantier v. United States,
24

25   606 F.2nd 654 (7th Cir. 1979)
26

27

28                                              16
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1          27 The defendants include MARY MURGUIA, CHIEF JUDGE OF THE
2
     NINTH CIRCUIT JUDICIAL COUNCIL and her Judicial Council colleagues.
3

4    Congress has placed on each Judicial Council under 28 U.S.C. 332(d)(4) a
5
     mandatory periodic duty to review District Court local Rules enacted under 28 U.S.C.
6

7
     § 2071 for consistency with 28 U.S.C. § 2072(b) “such rules shall not abridge,

8    enlarge, or modify any substantive rights,” and authority to invalidate such local
9
     Rules. Defendants have repeatedly refused to comply with this Congressional
10

11   command, thereby injuring Plaintiffs and all similarly situating citizens seeking to
12
     vindicate their civil rights in the United States District Courts.
13

14
           28. The defendants include WILLIAM H. PRYOR, JR, CHIEF JUDGE

15   ELEVENTH CIRCUIT JUDICIAL COUNCIL, and his Judicial Council colleagues.
16
     They are sued for the same reasons set forth in the preceding paragraph.
17

18         29. The defendants are RICHARD SEEBORG, CHIEF JUDGE OF THE
19
     NORTHERN DISTICT OF CALIFORNIA, AND HIS HON. JUDICIAL
20

21
     COLLEAGUES, EDWARD M. CHEN, VINCE CHHABRIA, JAMES DONATO,

22   WILLIAM H. ORRICK, HAYWOOD S. GIILLIAM; YVONNE GONZALEZ
23
     ROGERS, JON S. TIGAR, JEFFREY L. WHITE Plaintiffs are injured by this
24

25   Court’s local Rules that trespass 28 U.S.C. § 2072(b) and deny them equal general
26
     admission privileges. Plaintiffs are deprived of their substantive right to Due Process
27

28                                              17
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1    and a fair and neutral judge because the Northern District’s local Rules vicariously
2
     adopt the California Supreme Court’s sister-state attorney licensing rules. There are
3

4    numerous other conflicts of interest between the Plaintiffs on one hand, and on the
5
     other hand the judges serving on the California Supreme Court and their counterparts
6

7
     serving on the Northern District of California that create the appearance of bias.

8    These include: (i) federal judge LUCY KOH’S marriage to California Supreme
9
     Court Justice CUELLAR; (ii) California Supreme Court Justice JENKIN’S prior
10

11   service as a Northern District of California Judge. He resigned to take a higher
12
     paying judgeship in the California Appellate Division before he was appointed to
13

14
     the California Supreme Court; (iii) Northern District of California Judge YVONNE

15   GONZLEZ ROGERS application for a vacant position on the California Supreme
16
     Court; (iv) the Northern District of California and the Ninth Circuit’s repeated
17

18   refusal to disclose expert opinion evidence proving the 100% subjective bar exam
19
     that experienced attorneys are required to hurdle in order to obtain general admission
20

21
     privileges in the four District Courts in California, has a standard error of

22   measurement shoddier than .48, and it fails numerous testing Standards. See Exhibit
23
     B attached.
24

25         30. The defendants are TIMOTHY CORRIGAN, CHIEF JUDGE OF THE
26
     MIDDLE DISTRICT OF FLORIDA AND HIS ACTIVE DISTRICT COURT.
27

28                                             18
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1    COLLEGUES. Plaintiffs aver it is not necessary to individually name as a party
2
     every Article III judge ratifying local Rule discrimination for the same reason it is
3

4    not necessary to name as a party every person injured by the challenged local Rules.
5
           31. It is the province of the Court to say what is the law. Marbury v. Madison,
6

7
     supra, 5 U.S. 137 (1803). Defendants have a fiduciary duty as a trustee of the

8    Constitution. They have sworn an oath of office to enforce the terms of the
9
     Constitution and dispense justice equally to rich and poor alike. That oath and
10

11   fiduciary duty has been compromised because lawyers licensed in 49 states have
12
     been denied keys to the United States Courthouse in one state. See The Federalist
13

14
     #80 (“the peace of the WHOLE ought not to be left at the disposal of a PART.”)

15                                          FACTS
16
           A. The Local Rule Requirement that Licensed Attorneys in Good
17
           Standing Must Pass Another State Entry-Level Bar Exam to Obtain
18         General Admission in the District Courts Constitutes Hazing And an
           Abuse of Public Trust
19

20          32. The U.S. Supreme Court has held professional norms articulated by the
21
     American Bar Association are "(s)tandards to which we have referred as ‘guides to
22

23   determining what is reasonable.’" Wiggins v. Smith, 539 US 510, 524 (2003). The
24
     ABA has recommended that the U.S. District Court policy of restricting practice
25
     privileges to lawyers who are admitted to the State bar in which the district is located
26

27   should be abrogated. The ABA Recommendation 8A (1995) concluded that “Given
28                                              19
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1    the global nature of law practice today, parochial local Rules are inefficient, unduly
2
     costly to clients and/or lawyers and anti-competitive.”
3

4          33. The ABA Commission on Ethics 20-20 (2012) entered a factual finding
5
     that there is no evidence that experienced lawyers were a threat to the public or
6

7
     needed to take another bar exam. The Commission found no reason to believe that

8    lawyers who have been engaged in the active practice of law for three of the last
9
     seven years will be any less able to practice law in a new jurisdiction than a law
10

11   school graduate who recently passed the bar. The ABA squarely recommends that
12
     in light of ever-increasing advances in technology that all states should adopt bar
13

14
     admission on motion for lawyers with three years of experience. Forty-two states

15   have adopted admission on motion for sister-state attorneys.
16
           34. Likewise, the Uniform Bar Examination (UBE) is a standardized bar
17

18   examination developed by the NCBE that offers portability of scores across state
19
     lines. The UBE is adopted in 38 jurisdictions. The UBE does not test state law. A
20

21
     novice lawyer admitted in any UBE state is eligible for reciprocal licensing in all

22   UBE states, and thus in the District Courts located in 38 states.
23
           35. Deborah Jones Merritt is the Distinguished University Professor at The
24

25   Ohio State University Moritz College of Law. She has studied bar exams and
26
     attorney licensing process. The result is Merritt & Cornett, Building a Better Bar
27

28                                             20
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1    (2020). Prof. Merritt has opined the best evidence of “competence” is experience
2
     practicing law. As Prof. Merritt states —licensed lawyers have learned a skill set;
3

4    they know how to practice law.
5
           36. Joan W. Howarth is the Distinguished Visiting Professor, Boyd School of
6

7
     Law, UNLV Dean Emerita, Michigan State University College of Law. Dean

8    Howarth is the author of SHAPING THE BAR: THE FUTURE OF ATTORNEY
9
     LICENSING (forthcoming 2022, Stanford University Press). She concludes lawyers
10

11   should be licensed after clinical residencies and not by written exam. She opines the
12
     best evidence of an attorney’s competence is actually practicing law. According to
13

14
     Professors Merritt and Howarth “skill” is what clients want.

15         37. Statistics reported in 2019 by the NCBE report over 16,000 lawyers were
16
     provided reciprocal licensing privileges and immunities in a second state that are
17

18   denied to Plaintiffs. Every single one of these 16,000 lawyers are categorically
19
     disqualified for general admission licensing privileges in the Florida and California
20

21
     District Courts.

22         38. The United States Supreme Court has repeatedly held as a matter of law
23
     that an out of state attorney’s opportunity to practice law is a fundamental right and
24

25   constitutionally protected. The Supreme Court has repeatedly held that it will not
26
     presume that licensed attorneys will violate the rules of professional conduct or
27

28                                             21
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1    betray their public trust or not familiarize themselves with local law. Supreme Court
2
     of New Hampshire v. Piper, 470 U.S. 274 (1985); Supreme Court of Virginia v.
3

4    Friedman, 487 U.S. 59 (1988); Frazier v. Heebe, 482 U.S. 641 (1987).
5
           39. The challenged local Rules presume precisely what the Supreme Court
6

7
     has held it will not presume. They presume what the ABA, NCBE, and licensing

8    scholars have rejected.
9
           B. Multiple Testing Experts Have Concluded That California’s 100%
10
           Subjective Bar Exam for Already Licensed Sister-State Attorneys is Not
11         a Valid or Reliable Test
12
           40. The Standards for Educational and Psychological Testing, (2014),
13

14
     Published by the American Educational Research Association, American

15   Psychological Association, and the National Council on Measurement in Education)
16
     (Standards) have been incorporated into federal law; see 34 CFR 668.148(a)(2)(iv);
17

18   AMERICAN SOC. FOR TESTING v. Public. Resource. Org, 896 F. 3d 437 (D.C. Cir.
19
     2018); Affirmed Georgia v. Public. Resource. Org, Inc., 140 S. Ct. 1498 (2020).
20

21
           41. The Standards were developed to “provide criteria for the development

22   and evaluation of tests and testing practices and to provide guidelines for assessing
23
     the validity of interpretations of test scores for the intended test uses…. All pro-
24

25   fessional test developers, sponsors, publishers, and users should make reasonable
26
     efforts to satisfy and follow the Standards and should encourage others to do so. All
27

28                                            22
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1    applicable standards should be met by all tests and in all test uses unless a sound
2
     professional reason is available to show why a standard is not relevant or technically
3

4    feasible in a particular case.” Id. at 1.
5
            42. Many licensing experts have opined that the California 100% subjective
6

7
     bar exam given to already licensed sister-state attorneys fails to meet licensing

8    Standards. See Stephen P. Klein, “What Do Test Scores in Texas Tell Us?”
9
     (Published 2000 by RAND) Dr. Klein admits:
10

11          “Our research results illustrate the danger of relying on statewide test scores
            as the sole measure of student achievement when these scores are used to
12
            make high-stakes decisions about teachers and schools as well as students. We
13          anticipate that our findings will be of interest to local, state, and national
14
            educational policymakers, legislators, educators, and fellow researchers and
            measurement specialists.”
15

16          43. Likewise, Dr. Susan Case, the Director of Testing for the NCBE, avows
17
     that non-multiple choice format tests, such as essay and performance tests “because
18
     of their limitations, such as low reliability, lack of anonymity, and lack of
19

20   standardization, should not be used in isolation.” See Susan M. Case, “Licensure In
21
     My Ideal World,” The Bar Examiner, p. 27 November 2005.
22

23          44. Likewise, Dr. Geoff Norman is a nationally recognized testing expert with
24
     over 30 years of experience. Dr. Norman is one of the experts writing a chapter in
25
     the Cambridge Handbook of Expertise and Expert Performance. Dr. Norman
26

27   writes:
28                                               23
     COMPLAINT
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1          “Study after study has shown that it is almost impossible to get judges to agree
2          on scores for essay answers."
3
     See “So What Does Guessing the Right Answer Out of Four Have to Do With
4
     Competence Anyway?” The Bar Examiner, p. 21 (Nov 2008).
5

6          45. Dr. Phillip L. Ackerman is a Professor of Psychology at Georgia Institute
7
     of Technology; the Editor, Journal of Experimental Psychology: Applied; a Fellow
8

9    of the American Psychological Association and a member of the American
10
     Educational Research Association and the National Council on Measurement in
11
     Education (these are the three organizations that generate the Standards on
12

13   Psychological and Educational Testing). Dr. Ackerman wrote the chapter on testing
14
     in K. Anders Ericsson, Ed., The Cambridge Handbook of Expertise and Expert
15

16   Performance, and he is one of the leading testing experts in the world. Dr. Ackerman
17
     has reviewed the State Bar’s Report to the California Supreme Court on the
18
     California Bar Examination and other material he deemed necessary to form an
19

20   expert opinion.
21
           46. Dr. Ackerman’s professional opinion is that the Attorney’s Examination
22

23   for experienced sister-state attorneys licensed over four years fails to meet the
24
     Standards for Educational and Psychological Testing. Multiple Standards have not
25
     been met. More particularly, Dr. Ackerman declares, under oath:
26

27

28                                            24
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1          “The scores on the Attorney’s Examination are determined in a manner that
2          is not consistent with professional standards. The reliability of the test scoring
           procedures fails to reach a level that would be acceptable for high-stakes
3
           testing. (Specifically, inter-rater agreement is quite low, a correlation of .48
4          between raters indicates only 23% shared variance among ratings; source:
           Klein & Bolus; Gansk & Associates 2003.) An acceptable level of reliability
5
           for such high-stakes testing would be shared variance in the neighborhood of
6          70% or higher (corresponding to reliability of about .84 or higher).
7
           …
           When the goal of inter-rater reliability is preferably in the range of .8 to .9 as
8          noted by Dr. Kane, and the inter-rater reliability of the California Attorney’s
9          Examination is consistently reported to be below .5, there can be little doubt
           that the reliability of the decisions made on the basis of the scores is extremely
10
           low, and not acceptable. See Exhibit B16 ¶4-7.
11

12
           47. Dr. Ackerman further concludes the “Attorney’s Examination lacks
13

14
     content-related validity,” and it “has never been demonstrated to have criterion

15   related validation, in terms of evaluating the scores on the test and comparing them
16
     to performance of practicing attorneys.”
17

18         48. Judge BROWN is now collecting a pension from her long years of service
19
     as a California Supreme Court judge, collecting a federal judge pension, and is
20

21
     teaching at Berkeley Law School. The uncontroverted facts that Judge BROWN, a

22   former California Supreme Court Judge suppressed in Howell are ugly. See Exhibit
23
     B:
24

25         Grader correlation .41 Feb 2001 (Exhibit B2-3)
           Grader correlation .48 July 2001 (Exhibit B4-5)
26
           Grader correlation .38 Feb 2002 (Exhibit B6-7)
27         Grader correlation .40 July 2002 (Exhibit B8-9)
28                                              25
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1          Grader correlation .48 Feb 2002 (Exhibit B10-11)
2          Grader correlation .39 Feb 2004 (Exhibit B12-13)
           Grader correlation .41 July 2004 (Exhibit B14-15)
3

4    The industry standard for a test to be valid is .8 to .9 See Expert psychometric
5
     opinion by Dr. Ackerman (B-17 ¶7) agreeing with Dr. Kane of NCBE. A single
6

7
     biased judge can contaminate an entire panel. Masterpiece Cakeshop, v. Colorado

8    Civil Rights Commission. 138 S.Ct. 1719 (2018).
9
           49. The Supreme Court has recognized: "Many of the states that have erected
10

11   fences against out-of-state lawyers have done so primarily to protect their own
12
     lawyers from professional competition. ….This reason is not ‘substantial.’ The
13

14
     Privileges and Immunities Clause was designed primarily to prevent such economic

15   protectionism.” Piper, 470 U.S. at 285 fn. 18.
16
           50. The foregoing evidence demonstrates the 100% California bar exam for
17

18   experienced attorneys is not a valid or reliable test and it is designed and graded to
19
     provide economic protection. More than sixty percent of already licensed sister-
20

21
     attorneys have been failed on the entry level California July bar exam on the basis

22   of a licensing exam less reliable than flipping a coin. The test results for this
23
     licensing exam are inadmissible as evidence under the Federal Rules of Evidence
24

25   701 series and the Daubert standards because the test results are neither valid nor
26
     reliable, they contradict the Standards, the ABA legal industry licensing standard of
27

28                                             26
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1    reciprocity, and several Supreme Court decisions including Frazier v. Heebe holding
2
     that it will not presume that out-of-state licensed attorneys will not familiarize with
3

4    local law or disregard the rules of professional conduct.
5
                                   FIRST CAUSE OF ACTION
6

7
                                 VIOLATION OF 28 U.S.C § 1738

8          51. The preceding and        all subsequent allegations are incorporated by
9
     reference.
10

11         52. Plaintiffs’ claim that the challenged local Rules trespass 28 U.S.C § 1738
12
     has never been addressed by any decision upholding local Rules. JANICE ROGERS
13

14
     BROWN was presented with the terms of this statute. She turned a blind eye to it.

15   The federal right to counsel is inextricably intertwined with the Bill of Rights’
16
     protected freedoms to speech, counsel, assembly, and to petition the government for
17

18   the redress of grievances. Citizens also have a substantive right to counsel and to
19
     petition the government with counsel. General admission licensing privileges
20

21
     provide a public office that has particular value to the Plaintiffs as an association of

22   licensed lawyers, individual lawyers, clients, and to citizens who may want to
23
     choose counsel from a nationwide market of legal know-how.
24

25         53. 28 U.S.C. § 1654 Appearance personally or by counsel provides:
26

27

28                                              27
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1          In all courts of the United States the parties may plead and conduct their own
2          cases personally or by counsel as, by the rules of such courts, respectively, are
           permitted to manage and conduct causes therein.
3

4           54 U.S.C. § 1738 State and Territorial statutes and judicial proceedings; full
     faith and credit:
5

6          “The records of any Court or State are admissible in evidence, and such
7
           records shall have the same full faith and credit in every court within the
           United States as they have by law or usage in the Courts of any such State
8          from which they are taken.”
9
           55. Every lawyer is admitted to the bar by a judgment of professional
10

11   competence by an act and record of a state supreme court. Section 1738 commands
12
     that state supreme courts acts and records are entitled to full faith and credit in every
13

14
     United States District Court. “Regarding judgments, … the full faith and credit

15   obligation is exacting.” Baker by Thomas v. General Motors Corp., 522 U.S. 222,
16
     233 (1998). There is “no roving ‘public policy exception’ to the full faith and credit
17

18   due judgments.” Ibid. (emphasis in original).
19
           56. The challenged local Rules are facially unlawful as they trespass the
20

21
     Congressional command set forth in. 28 U.S.C. § 1738.

22                                SECOND CAUSE OF ACTION
23
           VIOLATION OF THE SEPARATION OF POWERS DOCTRINE
24

25         57. The preceding and         all subsequent allegations are incorporated by
26
     reference.
27

28                                              28
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1          58. Neither Judge BROWN nor any other court has ever addressed Plaintiffs’
2
     claim that the challenged local Rules violate the separation of powers doctrine.
3

4    When presented with it, judges either ignore it or pretend the argument is confusing.
5
     The argument that the local Rule delegation of federal power to forum state licensing
6

7
     officials, who have not subscribed to a federal oath of office, violates the separation

8    of powers doctrine and Janus is clear and unambiguous. It is derived and presented
9
     in large part from Justice GORSUCH’s book, A Republic, If You Can Keep It.
10

11         59. In Nguyen v. United States, 539 U.S. 69 (2003), the Court considered the
12
     question whether a panel consisting of two Article III judges and one Article IV
13

14
     judge had jurisdiction. The Article IV judge did not have life tenure and Article III

15   Court protections. The DOJ argued this structural error had been waived by failure
16
     to object and it was harmless error. The Supreme Court reversed and remanded for
17

18   a new hearing by Article III judges. No court upholding local Rules as rational has
19
     addressed Plaintiffs’ separation of powers argument. It has been conveniently
20

21
     dodged.

22         60. First, states are prohibited from exercising federal legislative power.
23
     Article I § 1 of the Constitution provides, “All legislative Powers herein granted
24

25   shall be vested in a Congress of the United States, which shall consist of a Senate
26
     and House of Representatives.” States do not have a shred of jurisdiction over many
27

28                                             29
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1    of the enumerated powers including patents, copyrights, bankruptcy, admiralty,
2
     federal taxation, federal criminal law, or to prescribe rules necessary and proper for
3

4    the adjudication of federal claims in the federal courts. No state bar exam tests the
5
     exclusively federal subjects of patents, trademarks, copyrights, bankruptcy,
6

7
     admiralty, or federal taxation.

8          61. Second, states are prohibited from exercising Article III Court judicial
9
     duties. Federal district courts are national courts and have jurisdiction over cases
10

11   arising under the Constitution. District Judges are nominated by the President and
12
     confirmed by the Senate. They take an oath of office. Article III Court jurisdiction
13

14
     and power is necessary, according to the Great Chief Justice John Marshall because

15   “the mere necessity of uniformity in the interpretation of the national laws decides
16
     the question. Thirteen independent courts of final jurisdiction over the same causes,
17

18   arising upon the same laws, is a hydra in government, from which nothing but
19
     contradiction and confusion can proceed.” Cohens v. Virginia, supra, 19 U.S. 264,
20

21
     415-416 (1821). “[L]ocal Courts must be excluded from a concurrent jurisdiction in

22   matters of national concern, else the judicial authority of the Union may be eluded
23
     at the pleasure of every plaintiff or prosecutor.” Id. at 420.
24

25         62. Third, states have no power to govern bar admission in other states or in
26
     the federal courts. The right to practice law before federal courts is not governed by
27

28                                              30
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1    State court rules. Theard v. United States, 354 U.S. 278, 280 (1956; Winterrowd v.
2
     American Gen. Annuity Ins. Co. 556 F.3d 815, 820 (9th Cir. 2009). Birbrower,
3

4    Montalbano, Condon & Frank v. Superior Ct., 17 Cal. 4th 119, 130 (1998).
5
           63. Furthermore, “when a State empowers a group of active market
6

7
     participants to decide who can participate in its market, and on what terms, the need

8    for supervision is manifest.” North Carolina State Board of Dental Examiners v.
9
     Federal Trade Commission, 135 S. Ct. 1101, 1114 (2015). State agencies controlled
10

11   by active market participants pose the exact risk of self-dealing. Ibid. These active
12
     market participants are not angels. Even assuming the irrational proposition that
13

14
     federal district judges can delegate their Article III Court judicial duties solely to one

15   state’s licensing officials, this delegation is annexed without a shred of supervision
16
     and without any intelligible standard. These local Rules have no consistent standard,
17

18   let alone an intelligible standard.
19
           64. Plaintiffs aver the challenged local Rules are facially unlawful as they
20

21
     trespass the separation of powers doctrine.

22                                  THIRD CAUSE OF ACTION
23
                         VIOLATION OF 28 §§ U.S.C. 2071-72, 332(d)4)
24

25         65. The preceding and all subsequent allegations are incorporated by
26
     reference. More particularly, Complaint ¶¶ 4-14 and Exhibit A attached hereto.
27

28                                               31
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1          66. Howell and other Circuits have carved out an exception to 28 U.S.C. §§
2
     2071-72 and 332(d)(4) by holding local Rules do not implicate any substantive rights
3

4    and need only pass a rational basis standard of review, based on any conceivable
5
     evidence in the record or not, in light of the “professional speech” doctrine. Id. at 19.
6

7
           67. Howell holds: “A single district court judge or an appellate panel may not

8    usurp that body's [Supreme Court and Judicial Council] authority.” Id. at 18
9
           68. However, after Howell was decided, the Supreme Court invalidated the
10

11   so-called “professional speech” doctrine in NIFLA v. Becerra, 138 S.Ct. 2361 (2018).
12
     The Supreme Court also rejected rational basis review as foreign to First
13

14
     Amendment jurisprudence in Janus v. AFSCME, 138 S.Ct. 2448 (2018). The central

15   components on which Howell rests, the professional speech doctrine and rational
16
     basis review, have been overturned.
17

18         69. Prior decisions holding local Rules as rational and exempt from review
19
     under 28 U.S.C. 2071-72 and 332(d)(4) misread the statute, disregard Federal Rules
20

21
     of Civil Procedure 1 and 83(a)(1), and pay no attention to Becerra and Janus, and

22   the Bill of Rights.
23
           70. These decisions are the product of hostility to anyone who challenges the
24

25   power and authority that many judges consider their birthright.
26
           ****
27

28                                              32
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1                                  FOURTH CAUSE OF ACTION
2
                          VIOLATION OF THE FIRST AMENDMENT
3

4    A. INTRODUCTION – THE LOCAL RULES NULLIFY THE FIRST
     AMENDMENT FREEDOMS
5

6          71. If Congress shall make no law abridging the freedoms to speech,
7
     association, and petition, neither can judges abridge these freedoms under the guise
8

9    of local Rules. In West Virginia Bd. of Ed. v. Barnette, 319 US 624, 638 (1943),
10
     Justice Robert Jackson famously summarized First Amendment gospel:
11

12
           The very purpose of a Bill of Rights was to withdraw certain subjects from
13         the vicissitudes of political controversy, to place them beyond the reach of
14
           majorities and officials and to establish them as legal principles to be applied
           by the courts. One's right to life, liberty, and property, to free speech, a free
15         press, freedom of worship and assembly, and other fundamental rights may
16         not be submitted to vote; they depend on the outcome of no elections.
17
           72. Equally important:
18
           "If there is any fixed star in our constitutional constellation, it is that no official,
19
           high or petty, can prescribe what shall be orthodox in politics, nationalism,
20         religion, or other matters of opinion or force citizens to confess by word or act
21
           their faith therein." Id. at 642.

22

23   Barnette means District Judges cannot legislate and rely on local Rules to prescribe
24
     First Amendment orthodoxy for any class of citizens.
25
           ****
26

27         ****
28                                                33
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1    B. VIOLATION OF PETITION CLAUSE AND PRIOR RESTRAINT
2
           73. There is no reason to conclude that “religious freedom” is more important
3

4    than “petition freedom.” The local Rules constitute a prior restraint on the right to
5
     petition. In Professional Real Estate Investors, Inc. v. Columbia Pictures Industries,
6

7
     Inc., 508 U.S. 49 (1993), the Court, in construing the right to petition held “that

8    litigation could only be enjoined when it is a sham. To be a sham, first, it must be
9
     objectively baseless in the sense that no reasonable litigant could expect success on
10

11   the merits; second, the litigant’s subjective motive must conceal an attempt to
12
     interfere with the business relationship of a competitor …through the use of
13

14
     government process — as opposed to the outcome of that process — as an anti-

15   competitive weapon.” Id. at 60-61. Petitioners submit the local Rules on their face
16
     violate the Petition Clause because they presume that the petitioners and all licensed
17

18   lawyers from 49 states will file sham petitions for an anti-competitive
19
     purpose and only file sham petitions.
20

21         74. Similarly, in Legal Services Corp. v. Velazquez, 531 US 533 (2001), at
22
     issue was the constitutionality of prior restrictions on attorney speech enacted by
23
     Congress. The Court held the Congressionally imposed restriction on attorney
24

25   speech was facially unconstitutional. Id. at 549. (Emphasis added)
26
           ****
27

28                                             34
     COMPLAINT
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1    C. Viewpoint Discrimination
2
           75. The local Rules on their face constitute viewpoint discrimination. A
3

4    subject that is first defined by content and then regulated or censored by mandating
5
     only one sort of comment is not viewpoint neutral. To prohibit all sides from
6

7
     criticizing their opponents makes a law more viewpoint based, not less so. Matal v.

8    Tam, 137 S.Ct. 1744, 1766 (2017). “A law or policy permitting communication in
9
     a certain manner for some but not for others raises the specter of content and
10

11   viewpoint censorship. This danger is at its zenith when the determination of who
12
     may speak and who may not is left to the unbridled discretion of a government
13

14
     official.” Lakewood v. Plain Dealer Publishing Co, 486 U.S. 750, 763 (1988). The

15   government, by enforcing disparate licensing rules suppresses the viewpoints of a
16
     disfavored class of licensed lawyers, citizens, and corporations.
17

18   D. Speaker Discrimination
19
           76. The speech-licensing local Rules also constitute speaker discrimination.
20

21
     In Citizens United v. Federal Election Commission, 130 S.Ct. 876 (2010):

22

23         Quite apart from the purpose or effect of regulating content, moreover, the
           Government may commit a constitutional wrong when by law it identifies
24
           certain preferred speakers. By taking the right to speak from some and giving
25         it to others, the Government deprives the disadvantaged person or class of the
26
           right to use speech to strive to establish worth, standing, and respect for the
           speaker's voice. The Government may not by these means deprive the public
27         of the right and privilege to determine for itself what speech and speakers are
28                                            35
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1          worthy of consideration. The First Amendment protects speech and speaker,
2          and the ideas that flow from each. Citizens United, 130 S.Ct. at 890
           …
3

4          Any effort by the Judiciary to decide which means of communications are to
           be preferred for the particular type of message and speaker would raise
5
           questions as to the courts' own lawful authority. Substantial questions would
6          arise if courts were to begin saying what means of speech should be preferred
7
           or disfavored. Id. at 890 (Emphasis added)

8

9    E. Content Discrimination
10
           77. These licensing rules on their face further constitute content
11
     discrimination. This Court in Reed v. Town of Gilbert, 135 S. Ct. 2218 (2015)
12

13   redefined “content discrimination.” The “subject” and “content” of this federal
14
     discrimination is federal law and procedure.
15

16   F. Right to Counsel and Association and to Avoid Compelled Association
17
           78. Plaintiffs aver the local Rules compulsion that anyone who wants to
18
     petition the United States District Court for the redress of grievances must select a
19

20   forum state attorney or forfeit their right to counsel is unconstitutional. It
21
     contradicts Janus v. AFSCME, 138 S.Ct. 2448 (2018).
22

23         79. Litigation is a form of political expression. In re Primus, 436 U.S. 412,
24
     428. The First Amendment protects “litigation [as] a means for achieving the lawful
25

26   objectives of equality by all government.” NAACP v. Button, 371 U.S. 415, 429
27
     (1963). It is thus a form of political expression. Ibid. “It is no answer to the
28                                            36
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1    constitutional claims … that the purpose of these regulations was merely to insure
2
     high professional standards and not to curtail free expression.” Id. at 438-39.
3

4          80. Regulations and practices that unjustifiably obstruct the availability of
5
     professional representation or other aspects of the right of access to the courts are
6

7
     invalid. Procuier v. Martinez, 416 U.S. 396, 419 (1974).         The operations of the

8    courts and the judicial conduct of judges are matters of utmost public concern.
9
     Landmark Communications, Inc. v. Virginia, 435 U.S. 829, 839 (1978).
10

11         81. Plaintiffs aver the government cannot meet its burden of proof under strict
12
     scrutiny review. Plaintiffs further aver this federal licensing discrimination carried
13

14
     out under the guise of local Rules cannot even survive rational basis review. If it is

15   irrational to disqualify someone for licensure because of oath as in Schware v. Bd.
16
     of Bar Examiners, 353 U.S. 232 (1957),or because they are Democrat or Republican,
17

18   or black, or female, or gay, or Jew or Gentile, it is equally irrational to disqualify an
19
     experienced attorney based on what state they are or are not licensed.
20

21
                                    FIFTH CAUSE OF ACTION

22                   VIOLATION OF THE FIFTH AMENDMENT EQUAL
23
                                        PROTECTION
24

25         82. The preceding and         all subsequent allegations are incorporated by
26
     reference.
27

28                                              37
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1           83. The challenged local Rules are not neutral and generally applicable. The
2
     Florida and California local Rules are mirror opposites. The purpose of diversity
3

4    jurisdiction is to provide a neutral forum. That purpose is defeated by the local Rule
5
     reliance on forum state law on both federal and diversity claims in two-thirds of the
6

7
     district courts.

8           84. This Article III Court delegation of federal duty to state sponsored public
9
     trade unions further nullifies Federalist Paper 10, which holds a core benefit of our
10

11   Union is to dissolve local faction. It provides:
12
            AMONG the numerous advantages promised by a well-constructed Union,
13          none deserves to be more accurately developed than its tendency to break and
14
            control the violence of faction.
            …….
15          By a faction, I understand a number of citizens, whether amounting to a
16          majority or a minority of the whole, who are united and actuated by some
            common impulse of passion, or of interest, adverse to the rights of other
17
            citizens, or to the permanent and aggregate interests of the community.
18

19
            85. The local Rules promote faction. They pit citizens of one state against
20

21
     another. In United States v. Windsor, 133 S.Ct. 2675 (2103), the Court held the

22   federal government is required to accord same sex citizens equal rights and their
23
     marriage licenses full faith and credit in the federal context. The rights to counsel,
24

25   association, and petition are textually embedded in the Constitution. They predate
26
     the fundamental right to marriage equality by over two hundred years.
27

28                                             38
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1             86. Plaintiffs aver the constitutional right to equal protection is a substantive
2
     right that fails to conform to the local Rule standard “shall not abridge, enlarge, or
3

4    modify any substantive rights.” 28. U.S. C. 2072(b). Congress has legislated an even
5
     playing field for all citizens. The scales of justice are impermissibly tilted and not
6

7
     equal.

8                                    SIXTH CAUSE OF ACTION
9
                  VIOLATION OF THE FIFTH AMENDMENT DUE PROCESS
10

11                 AND CODE OF CONDUCT FOR UNITED STATES JUDGES
12
              87. The preceding and       all subsequent allegations are incorporated by
13

14
     reference.

15            88. Code of Conduct for United States Judges. Canon 2 provides:
16
              “A Judge Should Avoid Impropriety and the Appearance of Impropriety in all
17
              Activities”
18            “(B) Outside Influence. A judge should not allow family, social, political,
              financial, or other relationships to influence judicial conduct or judgment. A
19
              judge should neither lend the prestige of the judicial office to advance the
20            private interests of the judge or others nor convey or permit others to convey
21
              the impression that they are in a special position to influence the judge. “

22

23            89. These speech-licensing local Rules on their face stem from a social,
24
     political, and financial relationship with forum state public trade unions that
25
     regularly engage in lobbying and litigation on political matters of public concern.
26

27

28                                                39
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1    The Code of Conduct for United States Judges prohibits this preferential
2
     relationship with a political trade union.
3

4          90. The constitutional right to Due Process is a substantive right. A part of
5
     that right is fair and neutral fact-finder and the warrant to avoid even the appearance
6

7
     of bias. Plaintiffs cannot get a fair hearing when the judge has already predetermined

8    the viewpoints of one state’s lawyers and one state’s licensing protocols are superior
9
     to another. This is anathema to Due Process.
10

11         Plaintiffs therefore request the following relief:
12
                    •    An Order and Judgment declaring the local Rules that deny
13

14         general bar admission privileges to otherwise qualified attorneys in good
15         standing based on forum state law or office location in the Ninth and Eleventh
16
           Circuits are unlawful and providing injunctive relief enjoining such local
17

18         Rules.
19
                    •    An Order and Judgment declaring the local Rules that deny
20

21         general bar admission privileges to otherwise qualified attorneys in good
22
           standing based on forum state law or office location are unlawful and
23
           providing injunctive relief enjoining such local Rules.
24

25                  •    Costs.
26
                    •    Attorney fees.
27

28                                                40
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1                •   Grant such other relief as may be just and proper.
2
       Dated: January 3, 2022           Respectfully submitted,
3

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5
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